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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="09ff0cc3a3"&gt;&lt;span data-sentence-id="25c9cad8dc" quote="false" data-paragraph-id="09ff0cc3a3"&gt;In re the matter of Derek Windell Cole Trust,&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13b0416d76"&gt;&lt;span data-sentence-id="a54ebbe46c" quote="false" data-paragraph-id="13b0416d76"&gt; Derek W. Cole, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="60c875d738" quote="false" data-paragraph-id="13b0416d76"&gt; &lt;br /&gt; Marcie R. McMinimee, in her capacity as Trustee of the Derek Windell Cole Trust Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="fb8e1ed8f1"&gt;No. 22SC259&lt;/p&gt;&lt;p data-paragraph-id="b9dbf998f6"&gt;&lt;span data-sentence-id="b9dbf998f6" quote="false" data-paragraph-id="b9dbf998f6"&gt;Supreme Court of Colorado, En banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="586d60e4a6"&gt;September 27, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="cab7f8fa9d"&gt;&lt;span data-sentence-id="67849d31d1" quote="false" data-paragraph-id="cab7f8fa9d"&gt; Court of Appeals Case No. 20CA842 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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